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          IN THE UNITED STATES DISTRICT COURT FOR THE
                 WESTERN DISTRICT OF OKLAHOMA
YANCY WALKER,                                 )
                                              )
                          Plaintiff,          )
                                              )
vs.                                           )            CIV-16-117-W
                                              )
GUIDEONE MUTUAL INS. CO.,                     )
                                              )
                          Defendant.          )

ENTER ORDER:

       Case settled after further settlement discussions held. A 30 day administrative
closing order will be entered.

ABOVE ORDER ENTERED BY DIRECTION OF UNITED STATES MAGISTRATE
JUDGE GARY M. PURCELL.

                                                    CARMELITA REEDER SHINN,
                                                    CLERK


                                                    By:    /s/ Bonnie Simpson
                                                           Deputy Clerk

Dated:   September 23, 2016
